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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
AAS/RMP                                              271 Cadman Plaza East
F. #2021R00600                                       Brooklyn, New York 11201




                                                     October 15, 2024

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By Email and ECF


                Re:   United States v. Sun, et. al.
                      Criminal Docket No. 24-CR-346 (BMC)

Dear Counsel:

              This letter will be accompanied by a link, sent by separate e-mail, to the secure
download of certain discovery materials produced pursuant to Rule 16 of the Federal Rules of
Criminal Procedure. The government renews its request for reciprocal discovery from the
defendants.

                The following documents were obtained by the government during the course of
the investigation:

 Bates No.                                        Description of Item

 EDNY_009881-EDNY_011267                          Photographs from Search of the Sun and Hu
                                                  Residence
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 Bates No.                                          Description of Item

 EDNY_011268-EDNY_011294                            Photographs from Search of the TD Bank
                                                    Safe Deposit Box

 EDNY_011295-EDNY_011593                            Photographs from the Search of the Entity
                                                    Identified in the Indictment as the Liquor
                                                    Store

 EDNY_011594-EDNY_011598                            Evidence Collected Item Log from the Search
                                                    of the Sun and Hu Residence


               In addition, please find the following materials produced in accordance with Rule
16 of the Federal Rules of Criminal Procedure, which are contained on encrypted hard drives
produced separately to counsel for the respective defendant. The passwords will be sent by
separate cover.

              Please find the following enclosed for counsel for Linda Sun:

 Bates No.                                          Description of Item

 SUN_000002                                         Records Associated with the iCloud Account
                                                                         (2022)

 SUN_000003                                         Records Associated with the iCloud Account
                                                                         (2024)



              Please find the following enclosed for counsel for Chris Hu:

 Bates No.                                          Description of Item

 HU_000002                                          Records Associated with the iCloud Account
                                                                                (Feb 2024)

 HU_000003                                          Records Associated with the iCloud Account
                                                                      (May 2024)

 HU_000004                                          Records Associated with the iCloud Account
                                                                           (May 2024)




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              You may examine the physical evidence discoverable under Rule 16, including
original documents and items, by calling us to arrange a mutually convenient time.



                                                  Very truly yours,

                                                  BREON PEACE
                                                  United States Attorney

                                          By:      /s/ Alexander A. Solomon
                                                  Alexander A. Solomon
                                                  Robert M. Pollack
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000

cc:    Clerk of the Court (BMC) (by ECF) (without download link)




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